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                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 JEANE BOLIN
     Plaintiff,

 vs.                                                          1:17-cv-00364-SS
                                                              Civil Action Number
 STATE AUTOMOBILE MUTUAL
 INSURANCE COMPANY
      Defendant.                                              Jury


                                JOINT NOTICE OF SETTLEMENT

        Plaintiff, Jeane Bolin, and Defendant State Automobile Mutual Insurance Company,

(collectively "Parties"), hereby notify the Court that the Parties have agreed to a settlement of this

 lawsuit. Accordingly, the Parties respectfully request that any pending deadlines and hearings

relating to this case be removed from the Court's calendar while the Parties complete the

 settlement process and prepare an appropriate motion to obtain a final dismissal of this case. The

Parties anticipate finalizing settlement within sixty (60) days.

                                              Respectfully submitted,

                                              /s/Mike O'Brien w/permission AAM
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                                              -and-

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                                             JEANE BOLIN



                                                /s/Sterling Elza
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                                             ATTORNEY FOR DEFENDANT,
                                             STATE AUTOMOBILE MUTUAL INSURANCE
                                             COMPANY




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument will be

sent to the counsel ofrecord by electronic service.

                                                /s/ Sterling Elza
                                             Sterling Elza




Joint Notice of Settlement                                                             Page 2 of2
